                            Case 2:20-cv-03850-PBT
                                               UNITEDDocument   1-2 Filed
                                                      STATES DISTRICT     08/07/20 Page 1 of 1
                                                                      COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                       Amy Campbell, 825 S. 48th Street, Philadelphia, PA, 19143, et al.
Address of Plaintiff: ______________________________________________________________________________________________
                       Philadelphia County Board of Elections, City Hall, Room 142, 1400 John F Kennedy Blvd, Philadelphia, PA 19107, et al
Address of Defendant: ____________________________________________________________________________________________
                                                            Philadelphia County, Bucks County, Alleghany County, Commonwealth of Pennsylvania
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                    No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
           8/7/2020                                                                                                                                54279
DATE: __________________________________                                     Must sign here
                                                             __________________________________________                       ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                       B.   Diversity Jurisdiction Cases:

      1.     Indemnity Contract, Marine Contract, and All Other Contracts                      1.    Insurance Contract and Other Contracts
      2.     FELA                                                                              2.    Airplane Personal Injury
      3.     Jones Act-Personal Injury                                                         3.    Assault, Defamation
      4.     Antitrust                                                                         4.    Marine Personal Injury
      5.     Patent                                                                            5.    Motor Vehicle Personal Injury
      6.     Labor-Management Relations                                                        6.    Other Personal Injury (Please specify): _____________________

✔      7.     Civil Rights                                                                      7.    Products Liability
      8.     Habeas Corpus                                                                     8.    Products Liability – Asbestos
      9.     Securities Act(s) Cases                                                           9.    All other Diversity Cases
      10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
      11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from eligibility for arbitration.)

      John P. Lavelle, Jr.
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

             Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

     ✔
             Relief other than monetary damages is sought.


             8/7/2020                                                      Sign here if applicable                                       54279
DATE: __________________________________                     __________________________________________                       ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/2018)
